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 PROB 12C                                                                                Report Date: August 2, 2016
(6/16)

                                        United States District Court

                                                        for the

                                           Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Lance Frank                               Case Number: 0980 2:09CR02075-EFS-1
                                       n
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Edward F. Shea, Senior U.S. District Judge
 Date of Original Sentence: January 27, 2011
 Original Offense:        Crime on Indian Reservation, voluntary Manslaughter and aiding and Abetting, 18
                          U.S.C. §§ 1153, 1112 and 2
 Original Sentence:       Prison 90 months;                  Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     James Goeke                        Date Supervision Commenced: April 1, 2016
 Defense Attorney:        Rick Lee Hoffman                   Date Supervision Expires: March 31, 2019


                                            PETITIONING THE COURT

              To issue a warrant and incorporate the violation(s) contained in this petition in future
proceedings with the violation(s) previously reported to the Court on 04/19/2016 and 05/16/2016.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            5           Special Condition # 21: You shall participate in the home confinement program for 90 days.
                        You shall abide by all the requirements of the program, which will include electronic
                        monitoring or other location verification system. You shall pay all or part of the costs of the
                        program based upon your ability to pay. You are restricted to your residence every day from
                        7 p.m. to 6 a.m., as directed by the supervising officer.

                        Supporting Evidence: Mr. Frank failed to comply with the requirements of the home
                        confinement program on July 31, 2016.

                        On July 28, 2016, Mr. Frank reviewed and signed a home confinement agreement form
                        acknowledging he would remain at his approved residence every day from 7 p.m. to 6 a.m.
                        On July 31, 2016, the offender failed to return home by 7 p.m. as scheduled. Mr. Frank
                        returned home later that evening at approximately 8:30 p.m.
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          6        Special Condition # 19: You shall abstain from alcohol and shall submit to testing
                   (including urinalysis and Breathalyzer), as directed by the supervising officer, but no more
                   than six tests per month, in order to confirm continued abstinence from this substance.

                   Supporting Evidence: Mr. Frank admitted to consuming alcohol on July 31, 2016.

                   On July 31, 2016, the undersigned officer conducted a home visit and spoke with the clean
                   and sober house manager who related the offender appeared to be intoxicated and would
                   need to move out of the home per their house rules. Upon contacting Mr. Frank, this officer
                   could smell an odor of alcohol emitting from his breath as he spoke. When questioned about
                   consumption of alcohol, he initially denied any alcohol use, but after a brief discussion he
                   admitted to consuming several beers earlier that day. He stated the reason he consumed
                   alcohol was because he was feeling stressed about his living situation and not being there
                   for his daughter. This officer observed a small cut above his eye with some swelling and a
                   couple of drops of blood on his shirt. When questioned about how he sustained the injuries
                   he replied he had gotten into a physical altercation with someone earlier that day at a
                   basketball court. Mr. Frank declined to provide this officer with any additional information
                   about the incident. It should be noted, the clean and sober house manager was going to
                   allow the offender to return to the home after 72 hours but Mr. Frank made some
                   inappropriate statements to another house member, while gathering some of his belongings,
                   which could have resulted in a physical altercation. As a result, the house manager informed
                   Mr. Frank he could not return to the home. The offender was informed he could stay at the
                   local mission in Yakima, Washington, but he refused to stay there. His sister was contacted
                   and she related she was tired of his continued noncompliant behavior and was not going to
                   allow him to reside with her. The detox center was contacted but staff there advised they
                   had no beds available. This officer once again suggested the mission, but he refused and
                   said he preferred to go to Wapato, Washington.
          7        Standard Condition # 3: The defendant shall answer truthfully all inquiries by the
                   probation officer and follow the instructions of the probation officer.

                   Supporting Evidence: Mr. Frank failed to report or contact the U.S. Probation Office on
                   August 1, 2016.

                   On July 31, 2016, Mr. Frank was directed to report or contact the U.S. Probation Office on
                   August 1, 2016 by 9 a.m. He failed to report or contact the undersigned officer as directed.
                   Contact with his sister revealed she had not heard from him since the day prior, nor did she
                   know of his current whereabouts.
          8        Special Condition # 17: Defendant shall undergo a substance abuse evaluation and, if
                   indicated by a licensed/certified treatment provider, enter into and successfully complete an
                   approved substance abuse treatment program, which could include inpatient treatment and
                   aftercare. The defendant shall contribute to the cost of treatment according to the
                   defendant’s ability to pay. Defendant shall allow full reciprocal disclosure be3tween the
                   supervising officer and treatment provider.

                   Supporting Evidence: Mr. Frank has failed to comply with aftercare services since July 19,
                   2016.
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